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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                         No. 2:03-cr-0371-MCE-EFB P
12                      Respondent,
13           v.                                        ORDER
14   KENNETH D. RODGERS,
15                      Movant.
16
17           Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20           On May 1, 2015, the magistrate judge filed findings and recommendations herein which

21   were served on all parties and which contained notice to all parties that any objections to the

22   findings and recommendations were to be filed within fourteen days. Movant has filed objections

23   to the findings and recommendations.

24           In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   Court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   Court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

28   /////
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     Case 2:03-cr-00371-JAM-EFB Document 1012 Filed 07/21/15 Page 2 of 2


 1         Accordingly, it is hereby ordered that:
 2         1. The findings and recommendations filed May 1, 2015, are ADOPTED IN FULL;
 3         2. Movant’s Motion to Vacate, Set Aside, or Correct his sentence pursuant to 28 U.S.C.
 4   § 2255 (ECF No. 855) is DENIED; and
 5         3. The Clerk of the Court is directed to CLOSE the companion civil case, No. 2:11-cv-
 6   2782-MCE-EFB P.
 7         IT IS SO ORDERED.
 8   Dated: July 17, 2015
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